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 ,QUH
                                                                    &KDSWHU
                 &KDUOHV3DSSDV
                                                                &DVH1R
                                         'HEWRU

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          8SRQUHYLHZRI0V3DUULV¶PRWLRQWRFRPSHODQGH[WHQGWKHGLVFRYHU\GHDGOLQH>'NW

1R@LQWKLVFRQWHVWHGFRQILUPDWLRQSURFHHGLQJDIWHUQRWLFHDQGDKHDULQJWKH&RXUWRUGHUV

WKHIROORZLQJ

   1. 7KH'HEWRUVKDOOREWDLQWKH)DFHERRN$PD]RQDQG3D\SDOGDWDUHTXHVWHGE\'HFHPEHU
      7KH'HEWRU¶VHIIRUWVWRREWDLQWKLVGDWDVKDOOLQFOXGHFRQWDFWLQJWKRVHHQWLWLHV
      IRUWHFKQLFDODVVLVWDQFHLIKHKDVGLIILFXOWLHVDFFHVVLQJWKHLQIRUPDWLRQ

   2. :LWKUHVSHFWWRDQ\SHUPLWDSSOLFDWLRQVRUELGVIRUZRUNVXEPLWWHGWRWKH7RZQVRI
      5XPIRUG5R[EXU\DQG$QGRYHULQWKHIRXU\HDUVSUHFHGLQJWKHFRPPHQFHPHQWRIWKLV
      FDVHWRWKHSUHVHQWWKH'HEWRUVKDOOREWDLQGRFXPHQWVIURPWKHWRZQDQGSURYLGHWKHP
      7RWKHH[WHQWWKH'HEWRUIDLOVWRREWDLQFRSLHVRIVDLGGRFXPHQWVWKH'HEWRUXQGHUVWDQGV
      WKDW0V3DUULVZLOOVXESRHQDVDLGGRFXPHQWVDQGVHHNIXUWKHURUGHURIWKH&RXUWIRU
      SD\PHQWRIFRVWVDQGIHHVIRUWKRVHHIIRUWV,IWKH'HEWRULVXQDEOHWRREWDLQFRSLHVE\
      'HFHPEHUKHZLOOSURYLGHE\'HFHPEHUDFRQILUPDWLRQIURPWKH
      WKLUGSDUW\WKDWWKH\KDYHUHFHLYHGKLVUHTXHVWIRUGRFXPHQWVDQGWKDWWKH\ZLOOSURYLGH
      WKHGRFXPHQWVRUDVWDWHPHQWWKDWWKH\KDYHQRVXFKGRFXPHQWV

   3. :LWKUHVSHFWWRDQ\WLWOHGYHKLFOHRUSHUVRQDOSURSHUW\RZQHGE\WKH'HEWRULQWKHIRXU
      \HDUVSUHFHGLQJWKHFRPPHQFHPHQWRIWKLVFDVHWRWKHSUHVHQWWKH'HEWRUVKDOOREWDLQ
      FRSLHVRIWKHWLWOHVIURPWKH%XUHDXRI0RWRU9HKLFOHV7RWKHH[WHQWWKH'HEWRUIDLOVWR
      REWDLQFRSLHVRIVDLGGRFXPHQWVWKH'HEWRUXQGHUVWDQGVWKDW0V3DUULVZLOOVXESRHQD
      VDLGGRFXPHQWVDQGVHHNIXUWKHURUGHURIWKH&RXUWIRUSD\PHQWRIFRVWVDQGIHHVIRU
      WKRVHHIIRUWV,IWKH'HEWRULVXQDEOHWRREWDLQFRSLHVE\'HFHPEHUKHZLOO
      SURYLGHE\'HFHPEHUDFRQILUPDWLRQIURPWKHWKLUGSDUW\WKDWWKH\KDYH
      UHFHLYHGKLVUHTXHVWIRUGRFXPHQWVDQGWKDWWKH\ZLOOSURYLGHWKHGRFXPHQWVRUD
      VWDWHPHQWWKDWWKH\KDYHQRVXFKGRFXPHQWV

   4. ,QRUGHUWRH[SHGLWHGLVFRYHU\LQOLHXRILQWHUURJDWRULHVWKH'HEWRUZLOOSURYLGHUHVSRQVHV
      XQGHURDWKWRWKH5HTXHVWVIRU3URGXFWLRQWKDW

             a. 'HVFULEHZKHWKHUDQ\VXFKGRFXPHQWVH[LVWRUVWDWHWKDWQRGRFXPHQWVH[LVWDQG
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        b. ,IGRFXPHQWVH[LVWEXWWKH'HEWRUFRQWHQGVWKH\DUHRXWVLGHRIKLVSRVVHVVLRQRU
           FRQWUROKHVKDOOLGHQWLI\WKHSHUVRQRUHQWLW\LQSRVVHVVLRQRUFRQWURORIVXFK
           GRFXPHQWV

 5. 7KH&RXUWIXUWKHUHQWHUVWKHIROORZLQJSURWRFROUHJDUGLQJWKHSURGXFWLRQRIHPDLOVIURP <DKRR

        a. *HQHUDOUHTXLUHPHQWV

                i. 7KH3DUWLHVVKDOOFRRSHUDWHLQJRRGIDLWKWRREWDLQUHVSRQVLYHHPDLOVIURP <DKRR

               ii. 7KH'HEWRUVKDOOH[HFXWHWKH<DKRRFRQVHQWIRUPSURSRVHGE\0V3DUULV
                   DQGVKDOOUHVSRQGWRDGGLWLRQDOUHTXHVWVIRUFRQVHQWLQFOXGLQJUHTXHVWVIRU
                   FRQVHQWUHFHLYHGHOHFWURQLFDOO\IURP<DKRRZLWKLQKRXUV

              iii. 0V3DUULVLVDXWKRUL]HGWRVHUYHDVXESRHQDRQ<DKRRWKDWVHHNVHPDLOV
                   FRQWDLQLQJWKHVHDUFKWHUPVDSSHQGHGWRKHUPRWLRQ

        b. 3URGXFWLRQ

                i. <DKRRVKDOOSURGXFHWKHGRFXPHQWVGLUHFWO\WRFRXQVHOIRU0V3DUULV

        c. 5HYLHZ

                i. 7KH&RXUWILQGVWKDWDOOREMHFWLRQVWRWKHGLVFRYHU\UHTXHVWVRWKHUWKDQ SULYLOHJH
                   DUHZDLYHGEXWRUGHUVWKDWXQGHU)HG5(YLGGREMHFWLRQV EDVHGRQ
                   SULYLOHJHDUHSUHVHUYHG
               ii. 8SRQUHFHLSWRIGRFXPHQWVIURP<DKRRFRXQVHOIRU'RQQD3DUULVVKDOO SURPSWO\
                   UHYLHZDOOGRFXPHQWVIRUDQ\SRWHQWLDOSULYLOHJHVHJUHJDWHWKRVH GRFXPHQWVDQG
                   SURYLGHWKHPWRFRXQVHOIRUWKH'HEWRUIRUUHYLHZ
        d. 2EMHFWLRQV

                i. &RXQVHOIRUWKH3DUWLHVVKDOOPHHWDQGFRQIHUUHJDUGLQJDQ\FODLPVRI
                   SULYLOHJHZLWKLQVHYHQGD\V7KH3DUWLHVVKDOOZRUNWRJHWKHULQJRRGIDLWK
                   WRUHVROYHDQ\VXFKREMHFWLRQV

               ii. ,IWKH3DUWLHVDUHXQDEOHWRUHVROYHWKHLUGLVSXWHWKH\PD\DSSO\WRWKH
                   &RXUWIRUUHOLHI

                   DLVFORVXUHE\<DKRRRIHPDLOVFRQWDLQLQJLQIRUPDWLRQRUFRPPXQLFDWLRQV
                   FRYHUHGE\WKH DWWRUQH\FOLHQWSULYLOHJHZLOOQRWUHVXOWLQDORVVRIWKHSULYLOHJHLQ
                   WKLVSURFHHGLQJRULQDQ\RWKHU VWDWHRUIHGHUDOSURFHHGLQJ6HH)HG5(YLG
                   G

    &RXQVHOIRU0V3DUULVPXVWUHYLHZDOOGRFXPHQWVUHFHLYHGIURP<DKRRRQDQDWWRUQH\
VH\HV
    RQO\EDVLVDQGPD\QRWGLVFORVHDQ\VXFKGRFXPHQWVWRDQ\SHUVRQXQWLOFRXQVHOKDVFRPSOHWHGKLV
    LQLWLDOUHYLHZRIWKHGRFXPHQWVLGHQWLILHGDQ\GRFXPHQWVWKDWFRQWDLQRUPD\FRQWDLQLQIRUPDWLRQ
    RUFRPPXQLFDWLRQVFRYHUHGE\WKHSULYLOHJHDQGVHJUHJDWHGWKRVHIURPWKHRWKHUGRFXPHQWV
    FRQWLQXHG
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